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             IN THE UNITED STATES DISTRICT COURT FOR
              THE WESTERN DISTRICT OF PENNSYLVANIA

                                                 :
JIM BOGNET, et al.,                              :
                                                 :
                           Plaintiffs,           :        NO. 3:20-cv-00215-KRG
                                                 :
             v.                                  :
                                                 :
KATHY BOOCKVAR, in her capacity as               :
Secretary of the Commonwealth of                 :
Pennsylvania, et al.,                            :
                                                 :
                           Defendants.           :


 MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER
    RELATED CASE PURSUANT TO LOCAL CIVIL RULE 40

      For the last several months, the subject matter of this action—

Pennsylvania’s mail-in and absentee balloting procedures—has been the subject of

intensive litigation in two lawsuits before another judge in this District, the

Honorable J. Nicholas Ranjan. In those actions, one pending and one recently

completed, Judge Ranjan has reviewed hundreds of filings, held arguments, issued

a 138-page summary judgment opinion, and ruled on many other motions. Judge

Ranjan is thus deeply familiar with the newly enacted statutory amendments that

govern mail-in and absentee balloting in Pennsylvania and with the

Commonwealth and county board of elections’ procedures for receiving and

canvassing ballots.
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      The Commonwealth has litigated hundreds of cases before this Court, and

has complete confidence that the assigned judge will preside over this case

effectively and fairly. However, this case presents extraordinary time pressures;

Plaintiffs seek to change the rules governing an election that is little more than a

week away. Judge Ranjan has been immersed in the subject matter of this litigation

for several months and is familiar with the facts, parties, and issues, and therefore

may be in a position to handle the case more efficiently than are other judges of

this Court. Because Judge Ranjan has presided over one related case and is

presiding over a second one, and because a transfer would otherwise be in the

interest of justice, transfer to Judge Ranjan is appropriate under Local Civil Rule

40 and 28 U.S.C. § 1404(b). Accordingly, Defendant Kathy Boockvar, in her

capacity as Secretary of the Commonwealth of Pennsylvania, respectfully requests

that the Court transfer this action.

I. Factual Background

      The case of Donald J. Trump for President, et al., v. Kathy Boockvar, in her

official capacity as Secretary of the Commonwealth of Pennsylvania, et al., Case

No. 2:20-cv-00966-NR, was filed on June 29, 2020, against the same defendants

named in this action—Secretary Boockvar and the Commonwealth of

Pennsylvania’s 67 county boards of elections. It raised a host of issues related to

Pennsylvania’s complex election system. These included many details relating to



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the receipt and “canvass” (examining ballot envelopes, opening them, and

tabulating the votes) of mail-in and absentee ballots. See, e.g., Opinion dated

October 10, 2020, ECF No. 574, attached as Exhibit 1, at 19-38 (ballot return by

drop box), 68-93 (same), 38-43 (canvassing), 93-116 (same). In the three and a half

months that Trump v. Boockvar was pending before Judge Ranjan, the case

generated 575 docket entries, relating to, among other things, various motions to

intervene, abstention, a motion to enjoin counting of ballots, and discovery issues.

See Docket attached as Ex. 2. On October 10, Judge Ranjan ruled on the parties’

cross-motions for summary judgment, issuing a 138-page Opinion that closely

examined Pennsylvania’s Election Code and many of the state’s existing election

procedures, including those relating to canvassing. ECF No. 574, Ex. 1.

      Parnell, et al., v. Allegheny County Board of Elections, et al., Case No. 2:20-

cv-1570-NR, was filed on October 16, 2020, against the Allegheny County Board

of Elections (a defendant in this case and in Trump v. Boockvar) and members of

Allegheny County’s administration. Like Trump v. Boockvar, Parnell challenges

aspects of the ways in which the county canvasses mail-in and absentee ballots.

See First Amended Complaint dated Oct. 22, 2020, ECF No. 28, attached as Ex. 3,

at 10-13. Also like Trump v. Boockvar, Parnell has been actively litigated; the

Plaintiffs have amended their Complaint, several third parties have been given

leave to intervene, the parties have filed supplemental briefing and status reports,



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and the Court has held two status conferences and ruled on a portion of the relief

sought. See Docket attached as Ex. 4.

      This case, like Trump v. Boockvar and Parnell, turns on allegations of

improper return and canvassing of absentee and mail-in ballots. ECF 1 ¶¶ 68-71.

Plaintiffs also allege that they are harmed by a disparity in ballot application rates

in different counties. ECF 1 ¶¶ 40-50. Plaintiffs seek a broadly worded order

enjoining Defendants from 1) accepting ballots that arrive after 8PM on Election

Day; 2) accepting ballots that lack “proof” that they were cast before that deadline;

3) “following any policy with respect to the receipt of deadlines that does not

comply with the requirements of the Elections Clause and/or the Electors Clause,”

and 4) “accepting ballots in a manner that does not comply with the requirements

of the Equal Protection Clause.” ECF 6 at 25. They do not deny that a grant of this

relief would require Defendants to change their ballot canvassing procedures on

the eve of an election, but allege that this relief will not cause Defendants any harm

and will not cause them to suffer costs or damages. Id. at 23-24.

II.   Argument
      Under Local Civil Rule 40(E), a judge may transfer a case to another judge

of this Court if the judge determines that the case is “related” to a case before that

judge “or the transfer would promote the convenience of the parties or witnesses or

the just and efficient conduct of the action.” L.R. 40(E). Because Judge Ranjan sits



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in the Pittsburgh Division, the Court must also consider 28 U.S.C. § 1404, which

requires a finding that the transfer is “convenient” and “in the interest of justice.”

Here, transfer is appropriate under both prongs of L.R. 40(E) and under Section

1404: This action is “related” to the actions before Judge Ranjan, a transfer would

advance “the just and efficient conduct of the action,” and the transfer would be

convenient to the parties and would serve justice.

      In this District, “civil actions are deemed related when an action filed …

involves the same issue of fact, or it grows out of the same transaction as another

action ….” L.R. 40(D). Here, Trump v. Boockvar and Parnell share significant

factual issues with this case. Plaintiffs’ factual allegations relate to mail-in and

absentee ballot applications, returns, and canvassing, and the likelihood that ballots

will be returned in violation of the law—facts that are, or recently were, before

Judge Ranjan. See supra § I. If the Court reaches the merits of Plaintiffs’ claims

and considers a remedy, it will have to assess the extent to which Plaintiffs’

proposed relief will disrupt the counties’ canvassing procedures—procedures that

were or are at issue in both Trump v. Boockvar and Parnell. Id.

      The urgency of this case and its complexity further support a conclusion that

a transfer will “promote the convenience of the parties or witnesses or the just and

efficient conduct of the action” under L.R. 40(E) and will be “convenient” and “in

the interest of justice” under 28 U.S.C. § 1404. Judge Ranjan has become familiar



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with the complex, and newly amended, body of law governing Pennsylvania’s

elections. His chambers has developed procedures for communicating with the 68

named defendants. He has been called upon to analyze the lengthy Pennsylvania

Supreme Court opinion that Plaintiffs take issue with in their Complaint. Ex. 1 at

10-13. Given the urgency of this matter, this Court may well conclude that Judge

Ranjan is in the best position to quickly resolve the issues presented.

      This case is easily distinguished from Zanghi v. Freightcar America, Inc., in

which this Court declined to transfer a case to the Pittsburgh Division. In that case,

the Court determined that, although the case was “related” to cases in the

Pittsburgh Division, there was no showing that “the Pittsburgh Division would

handle this matter more expeditiously” or that a transfer was “in the interests of

justice or the convenience of the parties.” 38 F.Supp.3d 631, 643 (W.D. Pa. 2014)

(Gibson, J.). Neither of the factors the Court relied upon in Zanghi apply here.

First, the Court found, the Pittsburgh Division judges involved in the related cases

were not in any position to handle the case more expeditiously; one was no longer

on the bench, and the other had issued only one substantive decision. Id. Here,

Judge Ranjan’s handling of Trump v. Boockvar and Parnell will likely expedite

handling of this case.

      Second, this Court found in Zanghi, the Johnstown venue was not only

“convenient” to all of the parties, but was the “most appropriate venue” for the



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case. The defendants were based in Johnstown, and many of the plaintiffs lived in

Cambria County. Id. Here, there is no particular connection between the Johnstown

Division and this case. Plaintiffs allege that relevant events are taking place

throughout the Western District, not specifically in the Johnstown Division. ECF 1

¶ 9. Secretary Boockvar’s office is in Harrisburg; the other Defendants are spread

across the Commonwealth. The lead plaintiff comes from Hazleton, Pennsylvania,

in the Middle District. The remaining plaintiffs live in Somerset County. Plaintiffs

have offered no reason that a Johnstown venue is more appropriate or more

convenient for the parties than a Pittsburgh venue.




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III.   Conclusion
       For the reasons stated above, Secretary Boockvar respectfully requests an

expeditious transfer of this case to Judge Ranjan’s docket.

                            Respectfully submitted,

                           HANGLEY ARONCHICK SEGAL
                           PUDLIN & SCHILLER

Dated: October 24, 2020    By: /s/ Mark A. Aronchick
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                        CERTIFICATE OF SERVICE

      I, Mark A. Aronchick, certify that on the 24th day of October, 2020, a copy

of the foregoing Memorandum of Law in Support of Motion to Transfer Related

Case Pursuant to Local Civil Rule 40 was served by ECF filing on all counsel.


                                            /s/ Mark A. Aronchick
                                            Mark A. Aronchick
